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 1                                                                          JUDGE JAMES L. ROBART

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 7
                                      UNITED STATES DISTRICT COURT
 8                                   WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 9
     UNITED STATES OF AMERICA,                                              )
10                                                                          )     CASE NO. CR 06-062 JLR
                                   Plaintiff,                               )
11                                                                          )
                         v.                                                 )     ORDER
12                                                                          )
     DEVONNE MICHAEL LEE, and                                               )
13   DEANDRE HOWARD BRADFORD,                                               )
                                                                            )
14                                 Defendants.                              )
                                                                            )
15
             This Court having considered the stipulation of the parties hereby GRANTS the
16
     parties' request for a continuance of the trial date and pre-trial motions cutoff date.
17
     Defendants Devonne Michael Lee and Deandre Howard Bradford each indicated his
18
     knowing, voluntary, and intelligent waiver of his right to a speedy trial by executing a
19
     written waiver of his right to a speedy trial through June 30, 2006.
20
             In view of the parties' agreement to continue the trial date, for the reasons stated
21
     in their stipulation, each defendant's knowing, voluntary, and intelligent waiver or
22
     anticipated waiver of his right to a speedy trial, the parties' desire to continue to engage
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     in plea discussions, the complexity of the case, the number witnesses, and the interest
24
     of the public in ensuring the accused adequate, effective, and continued representation
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     by counsel presently assigned, this Court finds that the ends of justice served by
26
     granting a continuance outweighs the best interest of the public and the defendant in a
27
     speedy trial.
28


     ORDER — 1                                                                                      UNITED STATES ATTORNEY
     United States v. Devonne Michael Lee, et al., Case No. CR 06-062 JLR                            700 Stewart Street, Suite 5220
                                                                                                    Seattle, Washington 98101-1271
                                                                                                             (206) 553-7970
                Case 2:06-cr-00062-JLR                    Document 26        Filed 04/04/06      Page 2 of 2



 1          The parties motion for continuance is GRANTED. Trial is reset for June 19,
 2   2006, at 1:30 p.m. The Pre-trial Motion cutoff date is reset for May 6, 2006. The
 3   time from the filing of the stipulated motion through the new trial date shall be
 4   excludable under the Speedy Trial Act, Title 18, United States Code, Section
 5   3161(h)(8)(A).
 6

 7             Dated this 4th day of April, 2006.


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10                                                                JAMES L. ROBART
                                                                  United States District Judge
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     Presented by:
14   s/ John J. Lulejian
     JOHN J. LULEJIAN
15   Assistant United States Attorney
16
     United States Attorney's Office
     700 Union Street, Suite 5220
17   Seattle, Washington 98101-1270
     Telephone: (206) 553-7970
18   Facsimile: (206) 553-0755
     E-mail: John.Lulejian@usdoj.gov
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     ORDER — 2                                                                                      UNITED STATES ATTORNEY
     United States v. Devonne Michael Lee, et al., Case No. CR 06-062 JLR                            700 Stewart Street, Suite 5220
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                                                                                                             (206) 553-7970
